     Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 1 of 64 Page ID #:1



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 4    Seal Beach, CA 90740-2752
      Telephone: 562.281.4517
 5    Facsimile: 833.317.0293
 6    Attorneys for Defendant
      COSTCO WHOLESALE CORPORATION
 7

 8                          UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORIA – WESTERN DIVISION
10

11 SONIA HOVANIAN,                   )         CASE NO.:
                                     )
12                                   )         [State Complaint Filed on June 14, 2022]
                   Plaintiff,        )
13                                   )
          vs.                        )          NOTICE OF REMOVAL OF
14                                   )          ACTION UNDER 28 U.S.C. § 1441
      COSTCO WHOLESALE               )
15    CORPORATION, and DOES 1 to 50, )
                                     )
16                 Defendants.       )
                                     )
17

18

19          PLEASE TAKE NOTICE that Defendant, COSTCO WHOLESALE
20    CORPORATION hereby removes the above-captioned action from the Superior
21    Court of the State of California, Los Angeles County, where it is currently pending
22    as Case No. 22STCV19471, to the United States District Court for the Western
23    District of California.
24          Removal is warranted under 28 U.S.C. §1441(b) because this is a civil action
25    over which this Court has subject matter jurisdiction under 28 U.S.C. §1332, on the
26    grounds that complete diversity exists between the parties and the amount in
27    controversy exceeds the sum of $75,000.
28    ///
30                                                1
                          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
31
     Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 2 of 64 Page ID #:2



 1          Plaintiff is a resident of Los Angeles County in the State of California.
 2    Defendant COSTCO WHOLESALE CORPORATION (hereinafter “COSTCO”), a
 3    corporate entity, is a Washington Corporation with its principal place of business in
 4    Issaquah, Washington and is therefore a citizen of the State of Washington for
 5    purposes of determining diversity. Pursuant to 28 U.S.C. §1332(c)(l) full diversity
 6    exists among the parties in this action since Defendants are incorporated and maintain
 7    their respective places of business in a different state than where Plaintiff is a citizen.
 8                                       BACKGROUND
 9          On or about June 14, 2022, Plaintiff, SONIA HOVANIAN commenced an
10    action in the Superior Court of the State of California in the County of Los Angeles,
11    entitled Sonia Hovanian v. Costco Wholesale Corporation and Does 1 to 50; Case
12    No. 22STCV19471. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings,
13    and orders served upon Defendant COSTCO are attached hereto as Exhibit A.
14    Plaintiff’s complaint asserts causes of action for General Negligence and Premises
15    Liability against COSTCO.
16          On or about June 23, 2022, Plaintiff had COSTCO, a corporate entity, was
17    served with the Complaint via personal service on its respective agent for service of
18    process in California.
19                                GROUNDS FOR REMOVAL
20          This is a civil action over which this Court has subject matter jurisdiction under
21    28 U.S.C. §1332, which confers original jurisdiction of “all civil actions where the
22    matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
23    costs, and is between … citizens of different States and in which citizens or subjects
24    of a foreign state are additional parties[.]”
25                              AMOUNT IN CONTROVERSY
26          The amount in controversy exceeds $75,000.00, as evidenced by Plaintiff’s
27    Complaint, which alleges she suffered from bodily and psychological injuries as a
28    result of a slip and fall on COSTCO property. Plaintiff’s counsel and Defense
30                                                    2
                           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
31
     Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 3 of 64 Page ID #:3



 1    counsel have met and conferred regarding the amount in controversy in this lawsuit,
 2    and Plaintiff will not stipulate to cap the damages at $75,000. The email regarding
 3    this conversation is attached as Exhibit B.
 4                             DIVERSITY OF CITIZENSHIP
 5          Plaintiff SONIA HOVANIAN resides in the City of Pasadena, in the County
 6    of Los Angeles, in the State of California, and, as such, is a resident of the State of
 7    California, as evidenced by her complaint attached as Exhibit A.            Defendant
 8    COSTCO is a Washington Corporation with its principal place of business in
 9    Issaquah, Washington, and is therefore a citizen of the State of Washington for
10    purposes of determining diversity.
11          This Notice of Removal was filed within thirty days of service of the
12    Complaint, which was completed on June 23, 2022. Pursuant to 28 U.S.C. § 1446(a),
13    copies of all process, pleadings, and orders served upon Defendant COSTCO are
14    attached hereto as Exhibit A. Pursuant to 28 U.S.C. § 1446(d), a Notice to Adverse
15    Parties of Removal to Federal Court, attached hereto as Exhibit C, together with this
16    Notice of Removal, is being served upon counsel for Plaintiff and will be filed with
17    the Clerk of the Superior Court of the State of California, County of Los Angeles.
18          Based on the foregoing, this Court has jurisdiction over this action. No
19    previous application has been made for the relief requested herein. Accordingly, this
20    action is properly removed.
21    ///
22    ///
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///
30                                                  3
                          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
31
     Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 4 of 64 Page ID #:4



 1          WHEREFORE, Defendants, and each of them, file this Notice of Removal so
 2    that the entire action Sonia Hovanian v. Costco Wholesale Corporation and Does 1
 3    to 50; Case No. 22STCV19471, now pending in the Superior Court of California, Los
 4    Angeles County, shall be removed to this Court for all further proceedings.
 5

 6    DATED: July 22, 2022                  FREEMAN MATHIS & GARY, LLP
 7
                                      By:
 8                                          BRIAN SKALSKY, ESQ.
                                            ALEXANDRA ASCIONE, ESQ.
 9                                          Attorneys for Defendants,
                                            COSTCO WHOLESALE CORPORATION
10

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30                                               4
                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
31
Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 5 of 64 Page ID #:5




         EXHIBIT “A”
                               Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 6 of 64 Page ID #:6
Electronically FILED by Superior Court of California, County of Los Angeles on 06/14/2022 04:50 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                                                                                       22STCV19471


                                                                                                                                                                          SUM-100
                                                         SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                                   (CITACION JUDICIAL)
             NOTICE TO DEFENDANT:
            (AVISO AL DEMANDADO):
             Caste° Wholesale Corporation, and DOES 1 to 50

              YOU ARE BEING SUED BY PLAINTIFF:
             (LO ESTA DEMANDANDO EL DEMANDANTE):
              Sonia Hovnanian


                  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
                  below.
                     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
                 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
                 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
                 Online Self-Help Center (www.courtinfo.ca.govisellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
                  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
                  may be taken without further warning from the court.
                     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call art attorney
                 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
                 these nonprofit groups at the California Legal Services Web site (tvww.lawhelpcalifornia.org). the California Courts Online Self-Help Center
                (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
                 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
                 tAVISOI Lo han demandado. Si no responde dentro de 30 dies, la code puede decidir en su contra sin escuchar su versiOn. Lea la information a
                 continuation.
                    Tiene 300/AS DE CALENDARIO despues de que le entreguen este citatiOn y papeles legates pare presenter una respuesta pot emit° en este
                 carte y hacer que se entregue una copia al demandante. Una carta o una Yamada telefonice 00 10 protegen. Su respuesta por escrito tiene que ester
                 en format()legal correct° si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda user pare su respuesta.
                Puede encontrar estos formulados de la code y mas.informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
                 biblioteca de byes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de prusentacien, pida al secreted° de la code
                 que le de un forrnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia carte le
                 padre guitar su sue/do, dinero y bienes sin mas advertencia.
                    Nay otros requisitos legates. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
                 remision a abogados. Si no puede pager a un abogado, es posible que cumpla C017 los requisitos pare obtener servicios legates gratuitos de un
                 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro on el sitio web de California Legal Services,
                (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov)o poniandose en contacto con la torte o el
                colegio de abogados locales. AVISO:Parley, la code tiene derecho a reclamar las cuotas y los costos exentos porimponer un gravamen sabre
                 cualquier recuperation de $10,000 a roes de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
                 pager el gravamen de la code antes de que la torte puede desechar el caso.
             The name and address of the court is:                                                                           CASE NUMBER:
                                                                                                                            (Niimoro del Coco):
            (El nombre y direcciOn de la code es):             Spring Street Courthouse
                312 N. Spring St.                                                                                                 22S             CV 1 9471
                Los Angeles, CA 90012
            The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
            (El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante quo no tiene abogado, es):
                Arthur Khaehatrian(SBN 343818)3504 W. Magnolia Blvd., Burbank, CA 91505;(818)928-5000

             DATE:                                                                              Clerk, by Sherri R. Carter Executive Officer/ Clerk of Court              , Deputy
            (Fecha) 0611412022                                                                  (Secretario) D. Williams                                                   (Adjunto)
            (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
            (Para prueba de entrega de este citation use el formulario Proof of Service of Summons,(POS-010)).
                                              NOTICE TO THE PERSON SERVED: You are served
                                              1.      as an individual defendant.
                                              2.      as the person sued under the fictitious name of (specify):


                                                     3. EX on beh            of (specify): C,•:2kr....t,          LA.*Ae-Sekke                           rt.-A-N*1

                                                          under: 1-)
                                                                   - 11
                                                                      CCP 416.10 (corporation)                                I        CCP 416.60 (minor)
                                                                           CCP 416.20 (defunct corporation)                            CCP 416.70(conservatee)
                                                                           CCP 416.40 (association or partnership)                     CCP 416.90 (authorized person)
                                                                  1    j other (specify):
                                                     4. 11::     by personal delivery on (date): G    f
                                                                                                  (v3              (zet                                                      Page 1 of 1
                Form Adopted for Mandatory Use
                  Judicial Council of California                                        SUMMONS                                                    Code of Civil Procedure §§ 412,20, 465
                                                                                                                                                                     www.COurfinfaca.gov
                 SUM•100 [Rev. July 1,20091

            4
                             Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 7 of 64 Page ID #:7
Electronically FILED by Superior Court of California, County of Los Angeles on 06/14/2022 04:50 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                                                                                       22STCV19471

                                                                                                                                                                                  CM-010
                 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name State Bar rumber. and addressi:                                                         FOR COURT USE ONLY
                — Jack Sogoyan(SBN # 299457): Arthur Khachatrian (SBN 343818)
                 Zwirn, Cicvorkyan and Sogoyan LLP
                  3504 W. Magnolia Blvd.
                  Burbank, CA 91505
                                          8)928-5000
                         TELEPHONE NO.: (8 1                  FAX NC.: (818) 928-2104
                 ATTORNEY FOR (Name):      Plaintiff, Sonia
                                                     Hovnanian
                SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                     STREET ADDRESS: 31/ N. Spring St.
                     MAILING ADDRESS: 312 N. Spring St.
                    CITY AND 2IP CODE: Los Angeles 90012

                        BRANCH NAME: Spring Street Courthouse
                 CASE NAME:
                 Hovnanian v. Costco Wholesale Corporation
                                                                                                                                CASE NUMBER:
                  CIVIL CASE COVER SHEET                 Complex Case Designation
                 V     Unlimited          Limited                                                             229-I- CV 1                                               9471
                      (Amount            (Amount                     I Counter             Joinder
                                                                                                            JUDGE:
                      demanded            demanded is           Filed with first appearance by defendant
                      exceeds $25,000)    $25,000 or less)         (Cal. Rules of Court, rule 3.402)          DEPT:

                                             Items 1-6 be ow must be    completed   (see instructions on page 2).
                1 Check one box below for the case type that best describes this case:
                   Auto Tort                                             Contract                                Provisionally Complex Civil Litigation
                           Auto (22)                                            Breach of contract/warranty(06) (Cal. Rules of Court, rules 3.400-3.403)
                           Uninsured motorist(46)                               Rule 3.740 collections(09)             Antitrust/Trade regulation (03)
                   Other PI/PDNVD (Personal Injury/Property                     Other collections (09)                         Construction defect(10)
                   Damage/Wrongful Death) Tort                                   Insurance coverage (18)                       Mass tort (40)
                         Asbestos(04)                                    Li    Other contract (37)                             Securities litigation (28)
                           Product liability (24)                        Real Property                                         Environmental/Toxic tort(30)
                           Medical malpractice (45)                            Eminent domain/Inverse                          Insurance coverage claims arising from the
                     V  Other PUPD/WD (23)                                     condemnation (14)                               above listed provisionally complex case
                                                                               Wrongful eviction (33)                          types(41)
                   Non-PI/PD/WD (Other) Tort
                                                                              Other real property (26)                  Enforcement of Judgment
                           Business tort/unfair business practice (07)
                           Civil rights (08)                           U nlawful Detainer                                      Enforcement of judgment(20)
                           Defamation (13)                                    Commercial(31)                            Miscellaneous Civil Complaint
                           Fraud (16)                                           Residential(32)                                RICO(27)
                           Intellectual property (19)                           Drugs(38)                                      Other complaint (not specified above)(42)
                           Professional negligence (25)                  Judicial Review                                Miscellaneous Civil Petition
                        Other non-PUPD/WD tort(35)                              Asset forfeiture (05)                          Partnership and corporate governance(21)
                   Employment                                                   Petition re: arbitration award (11)            Other petition (not specified above)(43)
                        Wrongful termination (36)                               Writ of mandate (02)
                           Other employment(15)                         Li      Other judicial review (39)
             2. This case I               1 isis not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
                a.       Large number of separately represented parties       d.       Large number of witnesses
                b.       Extensive motion practice raising difficult or novel e.       Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
                C.       Substantial amount of documentary evidence                    Substantial postjudgment judicial supervision

             3.    Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                               C. V punitive
             4.    Number of causes of action (specify): 2
             S.    This case         is        is not a class action suit.
             6.    If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
             Date: June 14, 2022
             Arthur Khachatrian, Esq.
                                             (TYPE OR PRINT NAME)                                                     (SIGNATURE OF P    TY OR ATTORNEY FOR PARTY)
                                                                                     NOTICE
                • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                  Pogo 1 012
             Form Adopted for Mandatory Use                                                                                        Cal. Rules of Court. rules 2.30, 3.220. 3.400-3 403: 3.740;
               Judicial Council of C,alifornia                           CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
               CM-010(Rev. July 1.20071                                                                                                                                  w.tw,cowlinto.cago

            5
                 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 8 of 64 Page ID #:8


                                                                                                                                      CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. lithe case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. lithe case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
    its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                              CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                         Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
      Uninsured Motorist(46)(if the                           Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                               or wrongful eviction)                 Claims Involving Mass Tort (40)
           motorist claim subject to                      Contract/Warranty Breach—Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort(30)
          instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
 Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type fisted above)(41)
 Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
      Asbestos (04)                                       book accounts)(09)                             Enforcement of Judgment(20)
         Asbestos Property Damage                         Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
          Asbestos Personal Injury/                       Other Promissory Note/Collections                        County)
               Wrongful Death                                 Case                                            Confession of Judgment(non-
     Product Liability (not asbestos or               Insurance Coverage (not provisionally                        domestic relations)
          toxic/environmental)(24)                        complex)(18)                                        Sister State Judgment
      Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                        (not unpaid taxes)
               Physicians & Surgeons                  Other Contract(37)                                      Petition/Certification of Entry of
         Other Professional Health Care                   Contractual Fraud                                       Judgment on Unpaid Taxes
               Malpractice                                Other Contract Dispute                              Other Enforcement of Judgment
     Other PI/PD/WD (23)                          Real Property                                                    Case
         Premises Liability (e.g.. slip               Eminent Domain/Inverse                         Miscellaneous Civil Complaint
               and fall)                                 Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/POMO               Wrongful Eviction (33)                             Other Complaint (not specified
              (e.g.. assault, vandalism)                                                                      above)(42)
                                                      Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                                                                            Declaratory Relief Only
                                                         Writ of Possession of Real Property
               Emotional Distress                                                                             Injunctive Relief Only (non-
                                                          Mortgage Foreclosure
         Negligent Infliction of                                                                                   harassment)
                                                         Quiet Title
               Emotional Distress                        Other Real Property (not eminent                     Mechanics Lien
         Other PI/PDAND                                  domain, landlord/tenant, or                          Other Commercial Complaint
 Non-PI/PI:MD (Other) Tort                               foreclosure)                                              Case (non-tort/non-complex)
                                                  Unlawful Detainer                                           Other Civil Complaint
       Business Tort/Unfair Business
           Practice (07)                                                                                         (non-tort/non-complex)
                                                      Commercial(31)
       Civil Rights (e.g., discrimination,                                                           Miscellaneous Civil Petition
                                                      Residential(32)                                    Partnership and Corporate
           false arrest)(not civil                    Drugs(38)(if the case involves illegal
            harassment)(08)                                                                                   Governance (21)
                                                          drugs, check this item; otherwise,             Other Petition (not specified
       Defamation (e.g., slander, libel)                  report as Commercial or Residential)
            (13)                                                                                             above)(43)
                                                  Judicial Review                                            Civil Harassment
       Fraud (16)                                     Asset Forfeiture (05)
       Intellectual Property (19)                                                                            Workplace Violence
                                                      Petition Re: Arbitration Award (11)                    Elder/Dependent Adult
       Professional Negligence (25)                   Writ of Mandate (02)
           Legal Malpractice                                                                                       Abuse
                                                          Writ—Administrative Mandamus
           Other Professional Malpractice                                                                    Election Contest
                                                          Writ—Mandamus on Limited Court
              (not medical or legal)                                                                         Petition for Name Change
                                                              Case Matter                                    Petition for Relief From Late
       Other Non-Pl/PDAND Tort(35)                        Writ—Other Limited Court Case
Employment                                                                                                         Claim
                                                              Review                                         Other Civil Petition
      Wrongful Termination (36)
      Other Employment(15)                            Other Judicial Review (39)
                                                          Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                              Commissioner Appeals
Ch1-010[Rev. July 1, 20071                                                                                                             Page 2 012
                                                     CIVIL CASE COVER SHEET

6
                           Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 9 of 64 Page ID #:9



  SHORT TITLE*                                                                                               CASE NUMBER
                          Hovnanian v. Costco Wholesale Corporation


                                         CIVIL CASE COVER SHEET ADDENDUM AND
                                                 STATEMENT OF LOCATION
                          (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                          This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                  Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


                   Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                  Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                             chosen.

                                                Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.            7. Location where petitioner resides.

2. Permissive filing in central district.                                                   8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                    9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                     10. Location of Labor Commissioner Office.
                                                                                           11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.                               non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                                                                  B                                                       C
                               CiVil Case Cover Sheet                                      Type of Action                                    ' Applicable Reasons -
                                     Category No.                                         (Check only one)                                      See Step 3 Above

                                     Auto(22)            0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1, 4, 11


                              Uninsured Motorist(46)     0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist           1,4, 11


                                                         0 A6070 Asbestos Property Damage                                                      1, 11
                                   Asbestos(04)
                                                         0 A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11


                               Product Liability(24)     0 A7260 Product Liability (not asbestos or toxic/environmental)                       1,4, 11


                                                         0 A7210 Medical Malpractice - Physicians & Surgeons                                   1, 4, 11
     Other Personal Inj




                              Medical Malpractice (45)                                                                                         1,4, 11
                                                         0 A7240 Other Professional Health Care Malpractice

                                                         Et A7250 Premises Liability (e.g., slip and fall)                                     1,4, 11
                                  Other Personal
                                  Injury Property        0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,               1, 4, 11
                                 Damage Wrongful                 assault, vandalism, etc.)
                                    Death (23)                                                                                                 1,4, 11
                                                         0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                               1,4, 11
                                                         0 A7220 Other Personal Injury/Property Damage/Wrongful Death




  LACIV 109(Rev 2/16)                                    CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
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SHORT TITLE:                                                                                            CASE NUMBER
                        Hovnanian v. Costco Wholesale Corporation

                                      A                                                        B                                              C Applicable
                            Civil Case Cover Sheet                                      Type of Action                                     Reasons - See Step.3
                                  Category No.                                         (Check only one)                                          Above

                              Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)              1, 2, 3

                               Civil Rights(08)          0 A6005 Civil Rights/Discrimination                                               1, 2, 3

                               Defamation (13)           0 A6010 Defamation (slander/libel)                                                1, 2, 3


                                  Fraud (16)             0 A6013 Fraud (no contract)                                                       1, 2,3


                                                         0 A6017 Legal Malpractice                                                         1, 2, 3
                         Professional Negligence(25)
                                                         0 A6050 Other Professional Malpractice (not medical or legal)                     1, 2, 3


                                  Other (35)             0 A6025 Other Non-Personal Injury/Property Damage tort                            1, 2, 3


                          Wrongful Termination (36)      0 A6037 Wrongful Termination                                                      1, 2, 3


                                                         0 A6024 Other Employment Complaint Case                                           1, 2, 3
                            Other Employment(15)
                                                         0 A6109 Labor Commissioner Appeals                                                10


                                                         0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful         2, 5
                                                                 eviction)
                         Breach of Contract/ Warranty                                                                                      2, 5
                                    (06)                 0 A6008 ContractiWarranty Breach -Seller Plaintiff(no fraud/negligence)
                              (not insurance)                                                                                              1, 2, 5
                                                         0 A6019 Negligent Breach of ContracINVarranty(no fraud)
                                                                                                                                           1, 2, 5
                                                         0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                         0 A6002 Collections Case-Seller Plaintiff                                         5, 6. 11
                               Collections(09)
                                                         0 A6012 Other Promissory Note/Collections Case                                    5, 11
                                                         0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                 5, 6, 11
                                                                 Purchased on or after January 1.2014)

                           I nsurance Coverage(18)       0 A6015 Insurance Coverage (not complex)                                          1, 2, 5,8


                                                         0 A6009 Contractual Fraud                                                         1, 2. 3, 5

                             Other Contract(37)          0 A6031 Tortious Interference                                                     1, 2, 3,5

                                                         0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8,9

                           Eminent Domain/Inverse                                                         Number of parcels                2,6
                                                         0 A7300 Eminent Domain/Condemnation
                             Condemnation(14)

                            Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                    2,6

    a_
                                                         0 A6018 Mortgage Foreclosure                                                      2,6
                           Other Real Property(26)       0 A6032 Quiet Title                                                               2,6

                                                         0 A6060 Other Real Property(not eminent domain, landlord/tenant. foreclosure)     2,6

                         Unlawful Detainer-Commercial                                                                                      6, 11
                                                      0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)
                                     (31)
    Unlawful Detainer




                         Unlawful Detainer-Residential                                                                                     6, 11
                                                         0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)
                                     (32)
                             Unlawful Detainer-                                                                                            2,6, 11
                                                         0 A6020F Unlawful Detainer-Post-Foreclosure
                            Post-Foreclosure (34)

                         Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                   2, 6, 11



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SHORT TITLE:                                                                                                                          CASE NUMBER
                                                      Hovnanian V. Costco Wholesale Corporation


                                                                     A                                          .             B.                                C Applicable ,
                                                          Civil Case Cover Sheet                                       Type of Action                        Reasons - See Step 3
                                                                Category No.                                          (Check only one)                             Above

                                                           Asset Forfeiture(05)         0 A6108 Asset Forfeiture Case                                       2, 3,6

                                                         Petition re Arbitration(11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration                2, 5
          Judicial Review




                                                                                       0 A6151 Writ - Administrative Mandamus                               2,8
                                                           Writ of Mandate(02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                2
                                                                                        0 A6153 Writ -Other Limited Court Case Review                       2

                                                         Other Judicial Review(39)      0 A6150 Other Writ /Judicial Review                                 2, 8

                                                       Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                    1, 2,8
         Provisionally Complex Litigation




                                                         Construction Defect(10)        0 A6007 Construction Defect                                          1, 2, 3

                                                        Claims Involving Mass Tort                                                                           1, 2,8
                                                                                        0 A6006 Claims Involving Mass Tort
                                                                  (40)

                                                         Securities Litigation (28)     0 A6035 Securities Litigation Case                                  1, 2,8

                                                                Toxic Tort
                                                                                       0 A6036 Toxic Tort/Environmental                                      1, 2, 3,8
                                                            Environmental(30)

                                                        Insurance Coverage Claims                                                                            1, 2, 5,8
                                                                                       0 A6014 Insurance Coverage/Subrogation(complex case only)
                                                          from Complex Case (41)

                                                                                       0 A6141 Sister State Judgment                                        2,5, 11
                                                                                       0 A6160 Abstract of Judgment                                         2,6
     C                                 C
    E                        g                                 Enforcement             0 A6107 Confession of Judgment(non-domestic relations)               2, 9
    W                        D)
                            1:5                              of Judgment(20)           0 A6140 Administrative Agency Award (not unpaid taxes)               2,8
    0
    a                                                                                  0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
    w
                                                                                       0 A6112 Other Enforcement of Judgment Case                           2, 8,9

                                                                RICO (27)              0 A6033 Racketeering(RICO)Case                                       1, 2,8
                                   Civil Complaints




                                                                                       0 A6030 Declaratory Relief Only                                       1, 2,8

                                                            Other Complaints           0 A6040 Injunctive Relief Only(not domestic/harassment)              2,8
                                                        (Not Specified Above)(42)      0 A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2,8
                                                                                       0 A6000 Other Civil Complaint(non-tort/non-complex)                  1, 2,8

                                                          Partnership Corporation                                                                           2,8
                                                                                       0 A6113 Partnership and Corporate Govemance Case
                                                             Governance(21)

                                                                                       0 A6121 Civil Harassment                                             2, 3,9
    Miscellaneous
    Civil Petitions




                                                                                       0 A6123 Workplace Harassment                                         2, 3,9
                                                                                       0 A6124 Elder/DependentAdult Abuse Case                              2, 3,9
                                                            Other Petitions(Not
                                                           Specified Above)(43)        0 A6190 Election Contest                                             2
                                                                                       0 A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                                       0 A6170 Petition for Relief from Late Claim Law                      2, 3,8
                                                                                       0 A6100 Other Civil Petition                                         2,9




LACIV 109(Rev 2/16)                                                                    CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
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 SHORT TITLE:                                                                         CASE NUMBER
                Hovnanian v. Costco Wholesale Corporation


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                   ADDRESS:
   REASON:                                                        1220 W. Foothill Blvd., Azusa, CA 91702

      C.1 1. n 2.11 3.0 4. LI 5.06. LI 7. i]8.0 9.010.b411.



   CITY:                                  STATE:     ZIP CODE:

   Azusa                                  CA         91702


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                         District of
           the Superior Court of California, County of Los Angeles[Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)). '




  Dated: June 14, 2022
                                                                                  (EIGNATIJE OF ATTORN Y/FILINO'PARTO




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW.COURT CASE:

        1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summbns form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
       5. Payment in full.of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109(Rev 2/16)                    CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
 LASC Approved 03-04                       AND STATEMENT OF LOCATION                                                  Page 4 o14
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                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES

 COURTHOUSE ADDRESS:
                                                                                                  FILED
                                                                                          Suporiat Coal di OaEidrdia
 Spring Street Courthouse                                                                   County of LOS Ail§eiag
 312 North Spring Street, Los Angeles, CA 90012                                                06/14/2022
                                                                                   Riemi R   te,EykouCit       1 Jae& of Cow
                                                                                                 D. WEliarns       Oepuly
                     NOTICE OF CASE ASSIGNMENT -                                    8Y:

              U NLIMITED PERSONAL INJURY CIVIL CASES
          ASSIGNED TO THE PERSONAL INJURY HUB COURTS

 Your case is assigned to the judicial officer indicated below in the          CASE NUMBER:
 Personal Injury Hub Court for all purposes, except for trial.                 22STCV19471



                   THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT



                           ASSIGNED JUDICIAL OFFICER                                                       DEPT.
      V     William A. Crowfoot                                                                             27



 FINAL STATUS CONFERENCE:
                                  DATE:         11/28/2023          at 10:00 a.m.

 TRIAL DATE:
                                  DATE:         12/12/2023          at 8:30 a.m.

 ORDER TO SHOW CAUSE RE: DISMISSAL (Code of Civil Procedure, section 583.210)
                                  DATE:        06/11/2024           at 8:30 a.m.




Given to the Plaintiff / Attorney of Record


On 06/15/2022                                                Sherri R. Carter, Executive Officer / Clerk of Court
          (Date)

                                                             By D. Williams                                 Deputy Clerk




            NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL PERSONAL INJURY CASES
LASC CIV 295 NEW 05/22
For Mandatory Use


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                   INSTRUCTIONS FOR HANDLING UNLIMITED PERSONAL INJURY CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court are
summarized for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDICIAL OFFICER
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all
purpose to a judicial officer, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assignment to the Personal Injury Hub Courts will be subjected to processing under the standards listed below.

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days. Failure to do so
may result in the imposition of sanctions.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than eight court days before the scheduled
trial date. All parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive
motions, requested form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to
the conference. These matters may be heard and resolved at this conference. At least five days before this conference,
counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the
case to be read to the jury panel as required by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by
the Court and time standards, or deadlines established by the Court or by Chapter Three Rules. Such sanctions may be
on a party, or if appropriate on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above
provisions is therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction.
Careful reading and compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a
complex judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to a
PI Hub Court for all purposes except for trial or an Independent Calendar Courtroom for all purposes depending on the PI
Case Type.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination
of complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it
will be randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be
complex, it will be returned to a PI Hub Court for all purposes except for trial or an Independent Calendar Courtroom for all
purposes depending on the PI Case Type.




              NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL PERSONAL INJURY CASES
LASC CIV 295 NEW 05/22
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                                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                  The Early 'Organizational Meeting Stipulation, Discovery
                                               Resolution Stipulation, and Motions in Limine Stipulation are
     Superior Court of California              voluntary stipulations entered into by the parties. The parties
     County of Los Angeles

                                               may enter •into one, two, or all three of the stipulations;
                                               however, they may not alter the stipulations as written,
        LACBA
        LOS A.S4'.,S1.1.5                      because the Court wants to ensure uniformity of application.
     Los Angeles County
     Bar Association                           These stipulations are meant to encourage cooperation
     Litigation Section

     Los Angeles County
                                               - between the parties and -to assist in resolving issues in a
     Bar Association Labor and
     Employment Law Section                    manner that promotes economic case resolution and judicial
                                               efficiency.

                                                   The    following   organizations endorse      the   goal of
     Consumer Attorneys
     Association of Los Angeles                promoting efficiency in litigation and ask that counsel
                                               consider using these stipulations as a voluntary way to
                                               promote communications and procedures among counsel
                                               and with the court to fairly resolve issues in their cases.

                                               •Los Angeles County Bar Association Litigation Section•
     Southern California
     Defense Counsel
                                                         •Los Angeles County Bar Association

     ASSOCIAIION 01 01       11110 4Atis1 eS
                                                             Labor and Employment Law Section*
                ab          lOS


     Association of
     Business Trial Lawyers                       *Consumer Attorneys Association of Los Angeles*


                                                         *Southern California Defense Counsel*


                                                         *Association of Business Trial Lawyers*

     California Employment
     Lawyers Association
                                                   *California Employment Lawyers Association*


            LACIV 230(NEW)
13          LASC Approved 4-11
            For Optional Use
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NAME AND ADDRESS OF ATTORNEY OR PARTY IN1THOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Slamp




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

           f.     Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
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     SHORT TITLE:                                                                      CASE NUMBER:




                    discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                    complaint;

           h. Computation of damages, including documents, not privileged or protected from disclosure, on
              which such computation is based;

           i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                    www.lacourt.orq under "Civil" and then under "General Information").

     2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                    to                         for the complaint, and                             for the cross-
                             (INSERT DATE)                                       (INSERT DATE)
                    complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                    and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                    been found by the Civil Supervising Judge due to the case management benefits provided by
                    this Stipulation. A copy of the General Order can be found at www.lacourtorq under "Civil',
                    click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

     3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                    and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                    results of their meet and confer and advising the Court of any way it may assist the parties'
                    efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                    the Case Management Conference statement, and file the documents when the CMC
                    statement is due.

     4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                for performing that act shall be extended to the next Court day

     The following parties stipulate:

     Date:


                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
     Date:


                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:


                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:


                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:


                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:


                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:


                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


     LACIV 229(Rev 02/15)
     LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                    Page 1 of 3
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     SHORT TITLE:                                                                   CASE NUMBER:




                    iii.   Be filed within two (2) court days of receipt of the Request; and

                    iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.

           c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

           d. If the Court has not granted or denied the Request for Informal Discovery Conference
              within ten (10) days following the filing of the Request, then it shall be deemed to have
              been denied. If the Court acts on the Request, the parties will be notified whether the
              Request for Informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

          e. If the conference is not held within twenty (20) days of the filing of the Request for
             Informal Discovery Conference, unless extended by agreement of the parties and the
             Court, then the Request for the Informal Discovery Conference shall be deemed to have
             been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

           It is the understanding and intent of the parties that this stipulation shall, for each discovery
           dispute to which it applies, constitute a writing memorializing a "specific later date to which
           the propounding [or demanding or requesting] party and the responding party have agreed in
         • writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
           2033.290(c).

     6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

     8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



     LACIV 036(new)
     LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
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     SHORT TITLE:                                                    CASE NUMBER:




     The following parties stipulate:

     Date:

                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
     Date:

                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR
     Date:

                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR
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                    (TYPE OR PRINT NAME)                  (ATTORNEY FOR




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     LACIV 036(new)
     LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
     For Optional Use                                                                         Page 3 of 3
18
             Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 21 of 64 Page ID #:21




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                     CASE NUMBER:
                    I NFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                  LI         Request for Informal Discovery Conference
                  111        Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                               (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
      For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
19         Print                       Save                                                                                         Clear
             Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 22 of 64 Page ID #:22




NAME AND ADDRESS OF ATTORNEY OR PARTY VV1THOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                    Page 1 of 2
20
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     SHORT TITLE:                                                 CASE NUMBER:




     The following parties stipulate:

     Date:

                    (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
     Date:

                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR
     Date:

                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR
     Date:

                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR



     THE COURT SO ORDERS.

       Date:
                                                                   JUDICIAL OFFICER




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21
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                                                                                              COURT

     3                                                                         MAY 1 1 2011
     4                                                                    JOHN A
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     5                                                                  BY NA CV A /1(01,0
                                                                                   VARRO,DEPUTY

     6

     7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
     8                           FOR THE COUNTY OF LOS ANGELES
     9
         General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
 10
         Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
 11      Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                   )    TO EARLY ORGANIZATIONAL
 12                                                )    MEETING STIPULATION
 13

 14
                Whereas the Los Angeles Superior Court and the Executive Committee of the
 15
         Litigation Section of the Los Angeles County Bar Association have cooperated in
 16

 17
         drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

 18      use in general jurisdiction civil litigation in Los Angeles County;
 19             Whereas the Los Angeles County Bar Association Litigation Section; the Los
 20
         Angeles County Bar Association Labor and Employment Law Section; the Consumer
 21
         Attorneys Association of Los Angeles; the Association of Southern California Defense
 22

 23      Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

 24      Employment Lawyers Association all "endorse the goal of promoting efficiency in
 25
         litigation, and ask that counsel consider using these stipulations as a voluntary way to
 26
         promote communications and procedures among counsel and with the court to fairly
 27
         resolve issues in their cases;"
 28

                                                     -1-

                                   ORDER PURSUANT TO CCP 1054(a)
22
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                Whereas the Early Organizational Meeting Stipulation is intended to encourage
     1

     2   cooperation among the parties at an early stage in litigation in order to achieve

     3   litigation efficiencies;
     4
                Whereas it is intended that use of the Early Organizational Meeting Stipulation
     5
         will promote economic case resolution and judicial efficiency;
     6

     7
                Whereas, in order to promote a meaningful discussion of pleading issues at the

     8   Early Organizational Meeting and potentially to reduce the heed for motions to
     9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
 10
         Organizational Meeting before the time to respond to a complaint or cross complaint
 11
         has expired;
 12

 13             Whereas Code of Civil Procedure section 1054(a)allows a judge of the court in

 14      which an action is pending to extend for not more than.30 days the time to respond to
 15
         a pleading "upon good cause shown";
 16
                Now, therefore, this Court hereby finds that there is good cause to extend for 30
 17
         days the time to respond to a complaint or to a cross complaint in any action in which
 18

 19      the parties have entered into the Early Organizational Meeting Stipulation. This finding

 20      of good cause is based on the anticipated judicial efficiency and benefits of economic
 21
         case resolution that the Early Organizational Meeting Stipulation is intended to
 22
         promote.
 23
                IT IS HEREBY ORDERED'that, in any case in which the parties have entered
 24

 25      into an Early Organizational Meeting Stipulation, the time for a defending party to
 26      respond to a complaint or cross complaint shall be extended by the 30 days permitted
 27

 28

                                                    -2-

                                    ORDER PURSUANT TO CCP 1054(a)
23
          Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 26 of 64 Page ID #:26




         by Code of Civil Procedure section 1054(a) without further need of a specific court
     1

     2   order.

     3

     4

     5                                            Carolyn B. Kuhl/'Supervising Judge ofthe
                                                  Civil Departments, Los Angeles Superior Court
     6

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                                  ORDER PURSUANT TO CCP 1054(a)
24
            Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 27 of 64 Page ID #:27


                     Superior Court of California, County of Los Angeles



                            ALTERNATIVE DISPUTE RESOLUTION(ADR)
                                   I NFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
   •      Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •      No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
      1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
         settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                  Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have•communication problems or strong emotions that interfere with resolution.
                  Mediation may not be appropriate when the parties
                    • want a public trial and want a judge or jury to decide the outcome.
                    • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 02/22
                                                                                                                     Page 1 of 2
   For Mandatory Use



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                                  How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                    •  ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                      (949) 863-9800
                    • Mediation Center of Los Angeles Program Manager info@mediationLA.org
                      (833)476-9145



       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by video conference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourt.org/ADR.Res.List

       NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
       claims cases.

           b. Los Angeles County Dispute Resolution Programs
                https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf


                Day of trial mediation programs have been paused until further notice.

                Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
                should carefully review the Notice and other information they may receive about (ODR)
                requirements for their case.

           c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

       Los Angeles Superior Court ADR website: http://www.lacourtoradivision/civil/C10109.aspx
       For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                                                               Superior Court of California
 1                                                                County of Los Angeles

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 3                                                        By                          ,Deputy
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 4

 5                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

 6                FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT

 7   In re Personal Injury Cases Assigned to the)    SEVENTH AMENDED STANDING
                                                )    ORDER FOR PROCEDURES IN THE
     Personal Injury Hub Courts (Spring Street
 8                                              )    PERSONAL INJURY HUB COURTS
     Courthouse)                                )    EFFECTIVE MAY 16, 2022(REVISED
 9                                              )    05/04/2022)

10

11             STANDING ORDER RE:PROCEDURES AT PERSONAL INJURY

12                  HUB COURTS AT THE SPRING STREET COURTHOUSE

13          The Superior Court of California, in and for the County of Los Angeles(Superior Court,

14   Los Angeles County), hereby issues the following order prescribing the procedures to be

15   followed in the Personal Injury Hub Courts at the Spring Street Courthouse.

16   I. Authority

17          This order is being made pursuant to the Code of Civil Procedure, the California Rules

18   of Court, rule 3.720, and the Superior Court, Los Angeles County, Local Rules, rule 3.23. It

19   supersedes the following General and Standing Orders:

20              A. Amended General Order Re: General Jurisdiction Personal Injury Cases — Filing

21                  Location (5/16/2014);

22             B. First Amended Standing Order Re: Final Status Conference, Personal Injury

23                ("PI") Courts (4/16/2018);
                                      PAGE 1 OF 19
                    SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                             THE PERSONAL INJURY HUB COURT



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                                                                                        2022-S.1-008-02


 1                  First Amended Standing Order Re: Personal Injury Procedures at the Spring

 2                  Street Courthouse (2/24/2020);

 3              C. Third Amended Standing Order Re: Final Status Conference, Personal Injury

 4                 ("PI") Courts (2/24/2020);

 5              D. Fifth Amended Standing Order Re: Mandatory Settlement Conference (2/24/20);

 6              E. Amended Supplemental Standing Order re Covid Protective Measures Related to

 7                  Final Status Conferences in Personal Injury Cases at the Spring Street Courthouse

 8                 (I 2/22/2020);

 9              F. Sixth Amended Standing Order Re: Mandatory Settlement Conference(6/23/21);

10                  and

11              G. Second Amended Supplemental Standing Order re Covid Protective Measures

12                  Related to Final Status Conferences in Personal Injury Cases at the Spring Street

13                  Courthouse (10/08/2021).

14   2. Definition of Personal Injury(PI) Cases

15          As prescribed by the Superior Court, Los Angeles County, Local Rules,rule 2.3(a)(1)(A),

16 "personal injury" cases are those alleging injuries arising from:

17          O 2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful Death

18         •4601 Uninsured Motorist — Personal Injury/Property Damage/Wrongful Death

19          O 2301 Premises Liability (e.g., dangerous conditions of property, slip/trip and fall,

20          dog attack, etc.)

21          O 2302 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g., assault,

22          battery, vandalism, etc.)

23          O 2303 Intentional Infliction of Emotional Distress
                                       PAGE 2 OF 19
                     SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                              THE PERSONAL INJURY HUB COURT



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                                                                                          2022-SJ-008-02


 I            O 2304 Other Personal Injury/Property Damage/Wrongful Death

 2            O 2307 Construction Accidents

 3            The Superior Court, Los Angeles County, will assign a case to the PI Hub Courts if

 4   plaintiff(s) checks any of the above boxes on the Civil Case Cover Sheet Addendum and

5    Statement of Location (Form LASC CIV 1-09).

6             However, cases alleging causes of action for product liability, medical or health

 7   professional malpractice, elder abuse, sexual abuse, and habitability issues will not be assigned

8    to the PI Hub Courts. If any of the following boxes are checked on the Civil Case Cover Sheet

9    Addendum and Statement of Location, the case will be assigned to an Independent Calendar

10   Court:

11            O 2401 Product Liability (not asbestos or toxic/environmental)

12            O 2402 Product Liability — Song-Beverly Consumer Warranty Act (Civil Code,

13            sections 1790-1795.8)(Lemon Law)

14            O 2305 Elder/Dependent Adult Abuse and Claims Against Skilled Nursing Facility

15            O 2306 Intentional Conduct Sexual Abuse Case (in any form)

16            O 2308 Landlord - Tenant Habitability (e.g., bed bugs, mold,etc.)

17            O 4501 Medical Malpractice - Physicians & Surgeons

18            04502 Other Professional Health Care Malpractice

19            Independent Calendar Courts will handle such cases for all purposes, including trial.

20   3. Assignment to PI Hub Court and Final Status Conference, Trial, and Order to Show

21      Cause Dates

22            All PI cases filed in Los Angeles County (with the exception of those filed in the Michael

23   Antonovich Antelope Valley Courthouse) will be assigned to a PI Hub Court located at 312
                                        PAGE 3 OF 19
                      SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                               THE PERSONAL INJURY HUH COURT



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                                                                                          2022-SJ-008-02


 1   North Spring Street, Los Angeles, CA 90012. In addition, upon filing, a case will be assigned a

 2   Trial date approximately 18 months from the filing date, a Final Status Conference (FSC) date

 3   approximately eight court days prior to the Trial date, and a date for a hearing on an Order to

 4   Show Cause why the case should not be dismissed pursuant to Code of Civil Procedure sections

 5   583.410 and 583.420(a)(1) approximately 24 months from the filing date.

 6   4. Transferring Cases from the PI Hub Courts

 7          The PI Hub Courts may transfer a case sua Aponte based upon a determination that the

 8   case is either not a PI case or that it requires more case management than the PI Hub Courts can

 9   provide, given their case inventories.

10 5. Filing of Documents

Ii           Except for self-represented litigants or counsel who have obtained an exemption from

12   mandatory electronic filing, parties must electronically file documents. Filings are no longer

13   accepted via facsimile. The requirements for electronic filing are detailed in the Superior

14   Court, Los Angeles County's operative General Order Re Mandatory Electronic Filing for

15   Civil, available online at littps://www.lacourt.ot-2/clivision/elilinOpclUGenOrdCivill'ililin2.pdr.

16   6. Service of Summons and Complaint

17          Plaintiff(s) shall serve the summons and complaint upon Defendant(s) within 60 days of

18   filing of the complaint. (California Rules of Court, rule 3.1 10(b).) Failure to do so may result

19   in the imposition of sanctions. (Code of Civil Procedure, sections 128, 177.5; California Rules

20   of Court, rule 2.30.) In addition, at a hearing on an Order to Show Cause re Dismissal (described

21   in Paragraph three above), the PI Hub Courts may dismiss the case and/or all unserved parties

22   unless Plaintiff(s) shows cause why the case or the unserved parties should not be dismissed.

23 (Code of Civil Procedure, „sections 583.410, 583.420(a)(2).).
                                        PAGE 4 OF 19
                     SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                               THE PERSONAL INJURY HUB COURT



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 I   7. Stipulations to Advance or Continue Trial

 2          The Court may honor stipulations by all parties to a case to advance or continue a trial,

 3   provided that the proposed trial date is not beyond 24 months of the filing of the complaint,

 4   without a showing of good cause.

 5          To advance or continue a trial date, the parties (or their counsel of record) should

 6 jointly execute and submit a (Proposed) Order and Stipulation to Continue Trial, FSC [and

 7   Related Motion/Discovery Dates Personal Injury Courts Only (Central District)](LAC'V-

 8   CTIZ1,242). The PI Hub Courts schedule FSCs at 10:00 a.m., approximately eight court days

 9   before the trial date. Parties seeking to advance or continue trial and FSC dates shall file the

10   stipulation at least eight court days before the existing FSC date. (Code of Civil Procedure,

11   section 595.2; Government Code,section 70617(c)(2).) In 'selecting a new trial date, parties

12   should avoid setting on Mondays, or Tuesdays following a court holiday.

13          Parties may submit a maximum of two stipulations to continue trial for a total

14   continuance of six months before 24 months of the tiling of the complaint. Other requests to

15   continue trial will be granted only upon a showing of good cause by noticed motion.

16   8. No Case Management Conferences

17          The PI Hub Courts do not conduct case management conferences. Thus, the parties need

18   not file a Case Management Conference Statement.

19   9. Law and Motion

20      A. Reservation Hearing Date

21          Parties must reserve hearing dates for motions in the PI Hub Courts using the Court

22   Reservation System(CRS)available online (www.lacourt.or2). After reserving a motion hearing

23   date, the reservation requestor must submit the moving papers for filing with the reservation
                                             PACE 5 OF 19
                     SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                              THE PERSONAL INJURY HUB COURT



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 1   receipt number printed on the face page of the document under the caption and attach the

 2   reservation receipt as the last page. Parties or counsel who are unable to utilize the online CRS

3    to reserve a hearing date may contact the assigned PI Hub Court for assistance, Monday through

4    Friday, between 3:00 p.m. and 4:00 p.m.

5            As soon as a reservation requestor realizes that a motion hearing, or other proceeding

6    requiring a reservation in the PI Hub Courts, such as in Informal Discovery Conference (IDC)

7    will not be necessary, the reservation requestor shall immediately use CRS to cancel the

8    reservation for the motion hearing, or other proceeding requiring a reservation.

9            If the moving party deems the hearing date to be too far in the future (for example, after

10   the trial date), parties should check CRS from time to time because earlier hearing dates may

11   become available as cases settle or hearings are taken off calendar. The Court will not advance

12   a hearing date because it is set after a trial date. If a hearing is set after the trial date, the moving

13   party should seek to continue the trial, by noticed motion, instead. (See, Section 10. Ex Parte

14   Applications, below.)

15       B. Electronically Filed Documents

16           Any and all electronically filed documents must be text searchable and bookmarked

17   pursuant to the operative General Order re Mandatory Electronic Filing for Civil, General Order

18   re Mandatory Flectronie Filiin in Civil.

19       C. Courtesy Copies

20           Courtesy copies are required for Ex Parte Applications, Motions for Summary Judgment,

21   Oppositions to Ex Parte Applications and Motions for, Oppositions to, and Replies to

22   Oppositions to Motions for Summary Judgment or Summary Adjudication.

23
                                        PAGE 6 OF 19
                      SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                               THE PERSONAL INJURY HUB COURT



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                                                                                        2022-SJ-008-02


 1            Courtesy copies must be submitted directly to the assigned PI Hub Court at the Spring

 2   Street Courthouse. The PI Hub Courts strongly encourage the parties filing and opposing lengthy

 3   motions for summary judgment or adjudication, to submit one or more three-ring binders

 4   organizing the courtesy copies behind tabs. Any courtesy copies of documents with declarations

 5   and/or exhibits must be tabbed. (California Rules of Court, rule 3.1 110(1).) All deposition

 6   excerpts referenced in briefs must be marked on the transcripts attached as exhibits. (California

 7   Rules of Court, rule 3.1 1 16(c).) Courtesy copies, including any media attached thereto, will be

 8   destroyed by the Court without notice following the hearing.

 9         D. Withdrawal of Motions

10            If a moving party takes a motion off a PI Hub Court's calendar, the moving party must

11   notify the court immediately and should remove the item from the Court's calendar on CRS.

12 (California Rules of Court, rule 3.1304(b).) If, in response to a demurrer or a motion to strike,

13   a party exercises its right to amend a pleading as prescribed by Code of Civil Procedure section

14   472(a), the Court requests that party work with the party who filed the demurrer or motion to

15   strike to take the demurrer or motion to strike off calendar so that the PI Hub Courts do not

16   needlessly prepare tentative rulings.

17         E. Motions to Compel Further Responses to Discovery

18            PI Hub Courts will not hear Motions to Compel Further Discovery Responses to

19   Discovery until the parties have engaged in an Informal Discovery Conference (IDC).

20            PI Hub Courts may deny or continue a Motion to Compel Further Responses to

21   Discovery unless the parties have participated in an IDC before the scheduled hearing on a

22   motion to compel further discovery responses.

23   ///
                                         PAGE 7 OF 19
                      SEVENTH AMENDED STANDING ORDER FOR PROCEDURES IN
                                THE PERSONAL INJURY HUB COURT



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 I          'After meeting and conferring about available dates for an IDC, the moving/propounding

 2   party shall reserve an IDC through CRS (see paragraph 9 above) and provide notice of the

 3   reserved IDC to the opposing/responding party by filing and serving an Informal Discovery

 4   Conference Form for Personal Injury Courts 1..ASC (AV 239 at least 15 court days before the

 5   IDC and attach the CRS reservation receipt as the last page. The IDC will not be "scheduled"

 6   by the court until the IDC Form is filed. The opposing/responding party may file and serve a

 7   responsive IDC Form at least 10 court days before the IDC. All parties shall briefly set forth

8    their respective positions on the pending discovery issues on the IDC Form.

9            Ideally, the parties should participate in an IDC before a Motion to Compel Further

10   Discovery Responses is filed because the IDC may avoid the necessity of such a motion or, at

11   least, reduce its scope. Because of that possibility, parties are encouraged to stipulate to extend

12   the deadline for tiling a Motion to Compel Further Discovery Responses by 60 days in order to

13   allow time to participate in an IDC and to informally resolve the pending discovery issues.

14           Note: Reserving or scheduling an IDC does not extend the time to file a Motion to

15   Compel Further Discovery Responses.

16           If parties do not stipulate to extend the deadline(s) to file a Motion to Compel Further

17   Discovery Responses, the moving/propounding party may file the motion to avoid it being

18   deemed untimely. However, the IDC must take place before the motion is heard so it is

19   suggested that the moving party reserve a date for the motion hearing that is at least 60 days after

20   the date when an IDC is scheduled. Note: A party's failure to stipulate to extend the time to

21   bring a Motion to Compel Further Discovery Responses so that an IDC may be held may subject

22   the parties and/or counsel to the imposition of sanctions.

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 I          The PI Hub Courts have found that, in most cases, 1DCs are successful at assisting the

 2   parties to amicably resolve their discovery disputes, and in resolving the case as a whole. The

 3   purpose of the IDC is to assist the parties to resolve and/or narrow the scope of discovery

 4   disputes. Therefore, parties, through their respective counsel of record with full authority to

 5   make binding agreements, shall participate in the scheduled IDC. The PI Hub Courts have found

 6   that most discovery disputes result from a failure to meaningfully meet and confer on the pending

 7   discovery issues. The PI Hub Courts generally find that meeting and conferring by only

 8   exchanging letters and e-mails, as opposed to actual conversation, are insufficient and

 9   ineffective. Thus,in requesting an IDC,the parties must indicate on their IDC forms what efforts

10   were made to informally resolve pending discovery issues, which must include in-person or

11   virtual meetings or telephonic communications. (The PI Hub Courts require this same showing

12   in declarations filed in support of, and in opposition to, Motions to Compel Further Discovery

13   Responses.)

14          Time permitting, the PI Hub Courts may be available to conduct IDCs to resolve other

15   types of discovery disputes.

16   10. Ex Parte Applications

17          The PI Flub Courts will only grant ex parte relief upon a showing, by admissible

18   evidence, that the moving party will suffer "irreparable harm," "immediate danger," or where

19   the moving party identifies "a statutory basis for granting relief ex parte." (California Rules of

20   Court, rule 3.1202(c).) The PI Hub Courts have no capacity to hear multiple ex parte

21   applications or to shorten time to add hearings to their fully booked motion calendars. Given

22   the PI Hub Courts' impacted calendars, a PI Hub ,Court's unavailability for timely motion

23   hearings is not an "immediate danger" or threat of "irreparable harm"justifying ex parte relief.
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 1   Instead of seeking ex parte relief, the moving party should reserve the earliest available motion

 2   hearing date (even if it is after the scheduled trial date) and file a noticed motion to continue the

 3

 4          And, again, parties should check CRS from time to time because earlier hearing dates

 5   may become available as cases settle or hearings are taken off calendar.

6    11. Jury Fees

 7          Parties must pay jury fees no later than 365 calendar days after the filing of the initial

 8   complaint.(Code of Civil Procedure,§ 631(c)(2).)

 9   12. Final Status Conference

10       A. Purpose

11          The purpose of the FSC is to verify that the parties are completely ready to proceed with

12   trial continuously and efficiently, from day to day, until verdict. The PI Hub Courts will verify

13   at the FSC that all parties have(I)prepared all necessary trial documents, and (2) met and

14   conferred in an effort to stipulate to ultimate facts, legal issues, Motions in Limine, and the

15   authentication/foundation and admissibility of exhibits.

16      B. Trial Documents to Be Filed

17        Al least five calendar days prior to the FSC, the parties shall serve and file the following

18   Trial Readiness Documents:

19              I. Trial Briefs (Optional)

20        Each party may, but is not required to, file a trial brief succinctly identifying:

21                   a. the claims and defenses subject to litigation;

22                   b. the major legal issues (with supporting points and authorities);

23                   c. the relief claimed and calculation of damages sought; and
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 I                   d. any other information that may assist the court at trial.

 2               2. Motions in Limine

 3           Before filing Motions in Limine, the parties shall comply with the statutory notice

4    provisions of Code of Civil Procedure section 1005 and the requirements of the Superior Court,

5    Los Angeles County, Local Rules, rule 3.57(a). The caption of each Motion in Limine shall

6    concisely identify the evidence that the moving party seeks to preclude. Parties filing more than

 7   one Motion in Limine shall number them consecutively. Parties filing opposition .and reply

8    documents shall identify the corresponding motion number in the caption.

9                3. Joint Statement to Be Read to the Jury

10            For jury trials, the parties shall prepare and file a joint written statement of the case for

11   the trial court to read to the jury. (Superior Court, Los Angeles County, Local Rules, rule

12   3.25(g)(4).)

13               4. Joint Witness.List

14            The parties shall prepare and file a joint, alphabetized by last name, list of all witnesses

15   that each party intends to call, excluding impeachment and rebuttal witnesses. (Superior Court,

16   Los Angeles County, Local Rules, rule 3.25(g)(5).) The joint witness list shall identify each

17   witness by name,specify which witnesses are non-experts and experts, estimate the length of the

18   direct, cross, and re-direct examination of each witness, and include a total number of hours for

19   all witness testimony. The parties shall identify all potential witness scheduling issues and

20   special requirements. Any party who seeks to elicit testimony from a witness not identified on

21   the witness list must first make a showing of good cause to the trial court.

22   ///

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 I.              5. List of Proposed Jury Instructions (Joint and Contested)

 2            The parties shall jointly prepare and file a list of proposed jury instructions, organized in

 3    numerical order, including columns to indicate whether an instruction is agreed to or contested.

 4    In addition, the List of Proposed Jury Instructions must include columns for a trial judge to

 5    indicate whether an instruction was given, given as modified, refused or withdrawn. (California

6     Rules of Court, rule 2.1055.)

 7               6. Jury Instructions (Joint and Contested)

8            The parties shall prepare a complete set of full text proposed jury instructions in a format

 9    ready for submission to the jury, by editing all proposed California Civil Jury Instructions

10    including inserting party name(s) and eliminating blanks, brackets, and irrelevant material. The

11    parties may prepare special instructions in a format ready for submission to the jury with the

12    instruction number, title, and text only (i.e., there should be no boxes or other indication on

13    the printed instruction itself as to which party is requesting the instruction).

14               7. Joint Verdict Form(s)

15           The parties shall prepare and jointly file a proposed general verdict form or special

16    verdict form (with interrogatories) acceptable to all parties. (Superior Court, Los Angeles

17    County, Local Rules, rule 3.25(g)(8).) If the parties cannot agree on a joint verdict form, each

18    party must separately file a proposed verdict form.

19               8. Joint Exhibit List

20           The parties shall prepare and file a joint exhibit list organized with columns identifying

21    each exhibit, setting forth stipulations, if any, to authenticity/foundation and admissibility of

22    exhibits, and specifying evidentiary objections, if any, to the admission of an exhibit. If an

23    objection to an exhibit is not articulated on the exhibit list, the trial court may deem the exhibit
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 1   admitted. The parties shall meet and confer regarding stipulations to authenticity/foundation and

 2   admissibility of exhibits, and to resolve objections, if any, to the admission of an exhibit, before

 3   filing the Joint Exhibit List.

 4              9. Page and Line Designation for Deposition and Former Testimony

 5             the parties intend to use deposition testimony or former trial testimony in lieu of any

 6   witness' live testimony, the parties shall meet and confer, and jointly prepare and file a chart

 7   with columns for each of the following: I) the page and line designations of the deposition or

 8   former testimony requested for use, 2) objections, 3) counter-designations, 4) any responses

 9   thereto, and 5) the Court's ruling.

10      C. Items to be Presented at the Final Status Conference

11               I. Trial Binders

12          The parties shall jointly prepare (and be ready to temporarily lodge) 3-ring binders

13   containing conformed (filed in eCourt) copies of all the following:

14          Tab A: Trial Briefs(Optional)

15          Tab B: Motions in Limine

16          The parties shall organize Motions in Limine (tabbed in numerical order) with the

17          opposition papers and reply papers for each motion placed directly behind the moving

18          papers.

19          Tab C: Joint Statement to Be Read to the Jury

20          Tab D: Joint Witness List

21          Tab E: Joint List of Jury Instructions (identifying the agreed upon and contested

22          instructions)

23          Tab F: Joint and Contested Jury Instructions
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 1           The parties shall organize proposed jury instruction with the agreed upon instructions

 2           first in order followed by the contested instructions (including special instructions)

 3           submitted by each party.

 4           Tab G: Joint and/or Contested Verdict Form(s)

 5           Tab El:'Joint Exhibit List

 6           Tab I: Joint Chart of Page and Line Designation(s) for Deposition and Former Testimony

 7           Tab J: Copies of the Current Operative Pleadings (including the operative complaint,

 8           answer, cross-complaint, if any, and answer to any cross-complaint).

9                 2. Filing and Electronic Submission of Trial Documents

10           In an effort to reduce the number of in-person appearances in the PI Hub Courts, in

11   addition to the parties filing and serving the Trial Documents at least five calendar days prior to

12   the FSC, two court days prior to the FSC, the parties must provide the PI Hub Court with the

13   trial binders in electronic form (see below). This will allow parties to appear remotely for the

14   FSC and provide the PI Hub Courts with the opportunity to review the trial binders to determine

15   whether parties are ready for trial. Hard copies of the trial binders will continue to be required

16   for the trial.

17           a. The parties must submit in one PDF conformed copies of the joint statement of the

18               case,joint witness list,joint list ofjury instructions, full-text joint and contested jury

19                instructions,joint and/or contested verdict form(s),joint exhibit list,joint deposition

20                designation chart, and operative pleadings as listed in paragraph C.1. above (Tabs C

21                through J).

22           b. The trial briefs and Motions in Limine, oppositions, and replies, if any, must be

23               submitted in a separate PDF as listed in paragraph C.I above (Tabs A and B). If a
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                                THE PERSONAL INJURY HUB COURT



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 I          Motion in Limine and exhibits thereto exceed 10 pages, the parties may submit

 2         just the face page of the motion. (The entire motion will still need to be brought to

 3          the trial in the appropriate binder.)

 4      c. The PDFs must be text searchable.

 5      d. The PDFs must be bookmarked which is essentially an electronic tab so that the PI

 6          Hub Court is able to find and navigate among the trial documents.

 7        (See ht s://helpx.a.lol.e.c n/erohat/usii /pac-thumhnails-bnokmark-

8              nd Is.In nil for bookmaking instructions.)

 9      e. The PDFs must be emailed to the applicable email address listed below:

10                     Department 27 at a:Llept271-zSC@LACourt.01.2

11                     Department 28 at scdept2817•SCeLACourt.org

12                     Department 29 at st...ctept29FSC@LACourt.01.2

13                     Department 30 at s,
                                         :cdept30BC@LACouri.or2

14                     Department 31 at ,,scclepi3 I FSC-OPLACourt.on!

15                                      .,sedept321:SCOLACourt.m
                       Department 32 at ,

16      f. The subject line in the email must include identifying case information as follows:

17             [Insert Case Number] Trial Readiness Binder, FSC, [Insert MM/DD/YEAR of

18             Hearing Date](e.g., 20STCV00001 Trial Readiness Binder, FSC 01/1 1/2022).

19      g. Each email should have two PDFs attached — one containing the trial documents and

20         the other containing the trial briefs and Motions in Limine, if applicable.

21      Ii. The parties need not email the evidentiary exhibit binders to the PI Hub Court for the

22         FSC. However, the parties shall prepare the exhibit binders as required (see section

23         3. Evidentiary Exhibits, below) and be prepared to represent to the PI Hub Court that
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                         THE l'ERSONAL INJURY HUB COURT



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 I                the binders have been properly prepared. Hard copies of the exhibit binders will be

 2                required for the trial court.

 3            3. Evidentiary Exhibits

 4            The parties shall jointly prepare (and be ready to temporarily lodge for inspection at the

 5   FSC) three sets of tabbed, internally paginated by document, and properly marked exhibits,

 6   organized numerically in three-ring binders(a Set for the trial court, the Judicial Assistant, and

 7   the witnesses). The parties shall mark all non-documentary exhibits and insert a simple written

 8   description of the exhibit behind the corresponding numerical tab in the exhibit binder.

 9         D. Failure To Comply with Final Status Conference Obligations

10         The PI Hub Courts have the discretion to require any party or counsel of record who fails or

11   refuses to comply with this Standing Order to show cause why the Court should not impose

12   monetary, evidentiary, and/or issue sanctions (including the entry of a default or the striking of

13   an answer).

14   13. Mandatory Settlement Conferences

15            Mandatory Settlement Conferences(MSC)are available on a virtual platform hosted by

16   the Beverly Hills Bar Association at ResolveLawLA.com. MSCs are conducted by volunteer

17   attorneys from the American Board of Trial Advocates, the Association of Southern California

18   Defense Counsel, the Consumer Attorneys Association of Los Angeles, and the Beverly Hills

19   Bar Association and are overseen by the Court.

20

21   III

22

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                               THE PERSONAL INJURY HUB COURT



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   1         •   MSCs are available in cases with two sides' 1) by stipulation, or 2) by court order at the

  2    Final Status Conference. I parties stipulate to participate in a ResolveLawLA MSC,they must

  3 seek leave of Court to do so, by making an ex parte application using the              p.1.1-10 IVISC
  4    Stipulation form. Both parties should appear at the ex parte hearing. At the Final Status

  5    Conference, the Court may order parties to participate in a MSC if the Court feels that it could

  6    assist the parties in resolving the case.

  7              Whether by stipulation or court order, parties must access the ResolveLawLA website

  8    at www.ResokreLawl„A..com to create an account and register the case for MSC within two court

  9    days of the Court's order of the MSC. Plaintiff or its, her or his counsel (Plaintiff) must

 10    coordinate with Defendant or its, her or his counsel (Defendant) and select a mutually agreed

 11    upon date and time for the MSC prior to the trial date. Plaintiff shall also provide the name,email

 12    address, and phone number for Defendant when registering the case for an MSC.

 13              A MSC brief shall be lodged by each party at ResolveLawLA.com and served on all

 14    parties not less than five court days before the scheduled MSC. The settlement conference

 15    statement shall be limited to five pages on the MSC Brief and 10 pages for

 16    exhibits. ResolveLawLA MSCs are available at 9 a.m. and 1:30 p.m. Monday through Friday,

 17    excluding court holidays, and are conducted on a virtual platform. After a MSC is scheduled,

 18    the ResolveLawLA system will send notifications via text and/or email and will include a link

 19    for counsel, the parties, and insurance representatives to join the MSC remotely.

• 20

 21

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 23 ' Cases with cross-complaints or separately represented defendants are not eligible.
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                                  THE PERSONAL INJURY HUB COURT



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 1            Pursuant to California Rules of Court, rule 3.1380(b) and Superior Court, Los Angeles

 2   County, Local Rules, rule 3.25(d), counsel, the parties, and persons with full authority to settle

 3   the case (including insurance company representatives) must attend the MSC virtually unless a

 4 judicial officer has excused the virtual appearance for good cause. Once Defendants are notified

 5   that a case has been scheduled for a MSC, Defendants shall create their own login to the

 6   ResolveLawLA.com system, and shall list all parties, party representatives and insurance

 7   adjusters' names, phone numbers, and emails where indicated. In the event the MSC needs to be

 8   canceled or rescheduled, it must be canceled through ResolveLawLA.

9             tithe case settles before a scheduled MSC,parties shall forthwith notify the PI Hub Court

10   to which the case is assigned of such settlement. The parties should also document their

11   settlement agreement in writing signed by all parties whether before or at the scheduled MSC.

12   14. Trials

13            The PI Hub Courts do not conduct trials. On the trial date, all parties and/or their trial

14   counsel must appear in person in the PI Hub Court assigned to the case. Upon confirming that

15   the parties are trial-ready, the PI Hub Court will obtain a Trial Court assignment from Stanley

16   Mosk Courthouse, Department 1, and will inform the parties and/or trial counsel of the

17   assignment. The parties then have 20 minutes within which to exercise a peremptory challenge

18   to the assigned trial court, assuming that party had not previously exercised the party's right to

19   make such a challenge.

20            Should a Plaintiff fail to appear at trial, the PI Hub Court will dismiss the case without

21   prejudice.(Code of Civil Procedure section 581(b)(3).) If a Defendant fails to appear at trial, the

22   PI Hub court will obtain a Trial Court assignment from Department 1 and the Plaintiff will

23   ///
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      proceed with an uncontested trial pursuant to Code of Civil Procedure section 594 and Warden

 '7   v. Lamb(1929)98 Cal.App: 738, 741.

 3    15. Sanctions

 4             The Court has discretion to impose sanctions for any violation of this Standing Order.

 5 (Code of Civil Procedure, sections 128.7, 187; Government Code, section 68608(b).)

 6

 7    Dated:

                                                       Judge David J. Cowan
 8                                                     Supervising Judge, Civil Division
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                               THE PERSONAL INJURY HUB COURT



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Electronically FILED by Superior Court of California, County of Los Angeles on 06/14/2022 04:50 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                                                                                       22STCV19471
                                            Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: William Crowfoot

                                                                                                                                                                      PLD-PI-001
                 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                     FOR COURT USE ONLY
              — Jack Sogoyan(SBN # 299457); Arthur Khachatrian(SBN 343818)
                Zwirn, Gevorkyan and Sogoyan LLP
                3504 W.Magnolia Blvd.
                Burbank, CA 91505
                    TELEPHONE NO: (818)928-5000       FAX NO.(Opgdnat): (818)928-2104

                 E-MAIL ADDRESS (OptfOnat);   js@zgslaw.com; ak atz.gslaw.com
                    ATTORNEY FOR(Name):       Plaintiff, Sonia Hovnanian
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF                     Los Angeles
                           STREET ADDRESS:       312 N. Spring St.
                           MAILING ADDRESS:      312 N. Spring St.
                       CITY AND ZIP CODE:        Los Angeles, CA 90012
                             BRANCH NAME:        Spring Street Courthouse
                               PLAINTIFF:        Sonia Hovnanian

                            DEFENDANT:           Costco Wholesale Corperation, and

                           DOES 1 TO 50
                COMPLAINT—Personal Injury, Property Damage, Wrongful Death
                       AMENDED (Number):
                Type (check all that apply):
                     MOTOR VEHICLE                          OTHER (specify): Demand for Jury Trial
                          Property Damage                      Wrongful Death
                          Personal Injury                    b Other Damages (specify): Proof at Trial
                Jurisdiction (check all that apply):                                                                             CASE NUMBER:
               1       ACTION IS A LIMITED CIVIL CASE
                       Amount demanded           I does not exceed $10,000
                                                   exceeds $10,000, but does not exceed $25,000
                       ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
                       ACTION IS RECLASSIFIED by this amended complaint                                                         22S-1- CV19471
                           from limited to unlimited
                     I     from unlimited to limited
              1. Plaintiff(name or names):             Sonia Hovnanian
                  alleges causes of action against defendant(name or names):
                  Costco Wholesale Corporation, and DOES 1 to 50
              2. This pleading, including attachments and exhibits, consists of the following number of pages:                      5
             3. Each plaintiff named above is a competent adult
                a. fl except plaintiff(name):
                         (1) I       a corporation qualified to do business in California
                        (2) I     I an unincorporated entity (describe):
                        (3) I        a public entity (describe):
                        (4)          a minor        I an adult
                                   (a)          for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                    (
                                    . b)        other (specify):
                        (5)         other (specify):
                  b.            except plaintiff(name):
                               (1) 1     a corporation qualified to do business in California
                               (2)       an unincorporated entity (describe):
                               (3)       a public entity (describe):
                               (4)       a minor          an adult
                                        (a)         for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                        (b)         other (specify):
                               (5)       other (specify):

                       I   Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                             Page 1 of 3
              Form Approved for Optional Use
                Judicial Council of California
                                                                    COMPLAINT—Personal Injury, Property                                                 Code of Civil Procedure,§ 425.12
                                                                                                                                                                     ve.lw.couninfo.co.gov
             PLD.PI-00i [Rev. January 1, 20071                           Damage, Wrongful Death

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                                                                                                                                    PLD-PI-001
     SHORT TITLE:                                                                                      CASE NUMBER:

     Hovnanian v. Costco Wholesale Corporation

 4.                 Plaintiff(name):
                    is doing business under the fictitious name (specify):

         and has complied with the fictitious business name laws.
 5. Each defendant named above is a natural person
    a. 6/ except defendant (name): Costco Wholesale COT c.                              except defendant (name):
           (1)      I a business organization, form unknown                            (1)       a business organization, form unknown
           (2) V I a corporation                                                       (2)       a corporation
           (3)        an unincorporated entity (describe):                             (3) 1     an unincorporated entity (describe):

                      (4)        a public entity (describe):                           (4)       a public entity (describe):

                      (5)        other (specify):                                      (5)       other (specify):




      b.               except defendant (name):                                   d.   except defendant (name):
                      (1) I    I a business organization, form unknown                          a business organization, form unknown
                      (2)        a corporation                                                  a corporation
                      (3)        an unincorporated entity (describe):                           an unincorporated entity (describe):

                      (4)        a public entity (describe):                                     a public entity (describe):

                     (5)         other (specify):                                               other (specify):



       I        1   Information about additional defendants who are not natural persons is contained in Attachment 5.

6.         The true names of defendants sued as Does are unknown to plaintiff.
           a.       Doe defendants (specify Doe numbers): I to 24                         were the agents or employees of other
                    named defendants and acted within the scope of that agency or employment.
           b. I v I Doe defendants (specify Doe numbers):25 to 50                               are persons whose capacities are unknown to
                    plaintiff.
7.                   Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.         This court is the proper court because
           a.       at least one defendant now resides in its jurisdictional area.
           b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
           c.       injury to person or damage to personal property occurred in its jurisdictional area.
           d.       other (specify):




9.                   Plaintiff is required to comply with a claims statute, and
           a.            has complied with applicable claims statutes, or
           b.            is excused from complying because (specify);




PLO.P1•00.1 [Roy. January 1, 2007)                      COMPLAINT—Personal Injury, Property                                              Pago 2 of 3

                                                             Damage, Wrongful Death


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                                                                                                                                     PLD-PI-001
     SHORT TITLE:                                                                                    CASE NUMBER:


     *Hovnanian v. Costco Wholesale Corporation

 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.       Motor Vehicle
      b. r General Negligence
     c. I     Intentional Tort
     d.       Products Liability
     e. I V Premises Liability
     f. I     Other (specify):




 1 1. Plaintiff has suffered
      a. r wage loss
       b.        loss of use of property
      c. v hospital and medical expenses
      d.         general damage
      e.       j property damage
      f.    V loss of earning capacity
      0-    V other damage (specify):
                      According to Proof at Trial,.



                The damages.claimed for wrongful death and'the relationships of plaintiff to the deceased are
                   listed in Attachment 12.
                   as follows:




 13. The relief sought in this complaint is within the jurisdiction of this court.



 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
     a. (1) V compensatory damages
        (2) V punitive damages
         The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
        (1)        according lb proof
        (2)        in the amount of: $

 15.           The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date:    June 14,.2022

 Arthur Khachatrian, Esq.
                              (TYPE OR PRINT NAME)                                          (SI   JATURE OF PLAINTIFF OR ATTORNEY)

PLO.P1.001 [Rev. January I. 2E07)                    COMPLAINT—Personal Injury, Property                                                 Pao 3 of 3

                                                          Damage, Wrongful Death



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             Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 51 of 64 Page ID #:51



                                                                                                                               PLD-PI-001(2)
                                                                                                  CASE NUMBER:
     SHORT TITLE:
     .Hovnanian v. Costco Wholesale Corporation


            FIRST                                 CAUSE OF ACTION—General Negligence                                      Page             4
                           (number)

            ATTACHMENT TO                   Complaint          I Cross - Complaint

          (Use a separate cause of action form for each cause of action.)

            GN-1, Plaintiff (name): Sonia *Hovnanian

                      alleges that defendant (name):     Costco Wholesale Corporation, and



                                  " Does      1                  to 50

                      was the legal (proximate)cause of damages to plaintiff. By the following acts or omissions to act, defendant
                      negligently caused the damage to 'plaintiff
                      on (date): July 21, 2020
                      at (place): 1220W. Foothill Blvd., Azusa, CA 91702

                     (description of reasons for liability):
                      -1. Plaintiff is informed and believes, and thereon alleges, that at all times mentioned 'herein,
                      Defendants, Costco Wholesale Corporation,("Defendants")(and/or DOES 1. to 50) owned,
                      operated, managed, controlled, and maintained the property located at the above-referenced
                      location.
                      2. Plaintiff is informed and believes, and thereon alleges, that at all times mentioned .herein,
                      Defendants.(and/or DOES Ito 50)had a duty to use ordinary care and/or skill in the management
                      of said .property in assuring that said property was safe for use by its patrons/invitees/licensees.
                      3. Plaintiff is informed and believes, and thereon alleges, that at all times mentioned herein,
                      Defendants (and/or DOES I to 50) negligently and carelessly owned, operated, managed,
                      controlled, and/or maintained the subject property so as to allow a hazardous condition to persist
                      for more than a reasonable amount of time necessary to Cure the hazardous condition.
                      4. As a direct and proximate result of Defendants'(and/or DOES 1 to. 50) negligence, Plaintiff
                      sustained bodily and psychological 'injuries, all of which have caused and continue to cause
                      Plaintiff pain and suffering.
                      5. Further, as a direct and proximate result of Defendants'(and/or.DOES 1 to 50) negligence,
                      Plaintiff sought medical treatment and incurred medical expenses.




                                                                                                                                          Page 1 of 1
   Form Approved for Optional Use                                                                                       Coda of Civil Procedure 425.12
     Judicial Council of California               CAUSE OF ACTION—General Negligence                                              www,courtinfo.ca.gov
 PLD-PI-001(2)[Rev. January 1.20071




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             Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 52 of 64 Page ID #:52



                                                                                                                                           PLD-PI-001(4)
     SHORT TITLE:                                                                                          CASE NUMBER:


     Hovnanian v. Costco Wholesale Corporation

           SECOND                                    CAUSE OF ACTION—Premises Liability                                           Page              5
                         (number)
           ATTACHMENT TO               Complaint            Cross - Complaint
          (Use a separate cause of action form for each cause of action.)

           Prem.L-1. Plaintiff (name): Sonia Hovnanian
                       alleges the acts of defendants were the legal (proximate)cause of damages to plaintiff.
                       On (date): July 21. 2020                           plaintiff was injured on the following premises in the following
                            fashion (description of premises and circumstances of injury):
                            Defendants, Costco    Wholesale Corporation,(and/or DOES 1 to 50) owns, leases, occupies,
                            operates, maintains, and controls the property located at 1220 W. Foothill Blvd., Azusa, CA
                            91702. On July 21, 2020, Defendants were negligent in the use or maintenance of said
                            property by allowing a dangerous condition to exist, which caused Plaintiff Sonia Hovnanian
                            to slip and fall. As a result, Plaintiff sustained bodily and psychological injuries.

           Prem.L-2.                    Count One—Negligence The defendants who negligently.owned, maintained, managed and
                                        operated the described premises were (names):
                                        Costco Wholesale Corporation, and

                                         V    Does 1                    to    50
           Prem.L-3.                    Count Two—Willful Failure to Warn [Civil Cade section 846] The defendant owners who willfully
                                        or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                                       (names):
                                        Costco Wholesale Corporation, and

                                              Does 1                    to 50
                                        Plaintiff, a recreational user, was         an invited guest 1 v     a paying guest.
          Prem.L-4.                     Count Three—Dangerous Condition of Public Property The defendants who owned public property
                                       on which a dangerous condition existed were (names):



                                                      Does                     to
                                       a.        The defendant public entity had          actual           constructive notice of the existence of the
                                                 dangerous condition in sufficient time prior to the injury to have corrected it.
                                        b.       The condition was created by employees of the defendant public entity.
          Prem.L-5. a.                1 Allegations about Other Defendants The defendants who were the agents and employees of the
                                        other defendants and acted within the scope of the agency were (names):



                                              Does                     to
                                       The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                            described in attachrnent Prem.L-5.b -    I    1 as follows (names):




                                                                                                                                                      Page 1 of 1
  Form Approved for Optional Use
    Judicial Council of California                   CAUSE OF ACTION—Premises Liability                                         Code Of Civil ProCodure.§ 425.12
                                                                                                                                             www.courrinfo.ca,gov
PLD-P1-001(4)[Ray. January 1. 20011




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Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 53 of 64 Page ID #:53




           EXHIBIT “B”
            Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 54 of 64 Page ID #:54




From: Arthur Khachatrian <ak@zgslaw.com>
Sent: Wednesday, July 13, 2022 5:14:55 PM
To: Brian W. Skalsky <Brian.Skalsky@fmglaw.com>
Cc: Alexandra B. Ascione <Alex.Ascione@fmglaw.com>
Subject: Re: FW: Hovnanian v. Costco Wholesale Corporation

   Caution: This email originated from outside of the FMG organization. Do not click links or open attachments unless
   you recognize the sender and know the content is safe.

Brian,

Thank you for your email.

We concur re: punitive damages.

Yes, my client is not willing to cap damages on this case at $75,000. If anything changes, I will let you know.

Best,
Arthur

On Wed, Jul 13, 2022 at 4:59 PM Brian W. Skalsky <Brian.Skalsky@fmglaw.com> wrote:

 Arthur,



 I wanted to follow up from our initial call two weeks ago on this matter, where we discussed (1) the punitive damages
 and (2) the caping of the value of the case. As previously discussed, it was a clerical error that the punitive damages
 box was checked in the form complaint on this matter. I think this could be addressed through a stipulation and
 proposed order, let me know if you concur. We also discussed during our call whether Plaintiff would be willing to cap
 the damages on this case at $75,000 and you indicated you would get back to me after the 4th of July holiday. Based on
 that fact that we have not received confirmation of that, we will move forward that Plaintiff is not willing to cap the
 damages on this case at $75,000 at this time. If that changes at any point in the future, please let me know. Should
 you wish to discuss further please let me know.



 Best regards

                                                              1
                   Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 55 of 64 Page ID #:55


Brian W. Skalsky
Partner
Freeman Mathis & Gary, LLP
3030 Old Ranch Parkway | Suite 200 | Seal Beach, CA 90740-2713
D: 562-281-4517 | C: 949-292-6254
Brian.Skalsky@fmglaw.com | LinkedIn | Bio
www.fmglaw.com | Instagram | Twitter | Facebook




CA | CT | FL | GA | IL | IN | KY | MA | NJ | NY | OH | PA | RI | TN | TX
Please read this important notice and confidentiality statement




From: Brian W. Skalsky
Sent: Tuesday, June 28, 2022 9:46 AM
To: 'js@zgslaw.com' <js@zgslaw.com>
Cc: Alexandra B. Ascione <Alex.Ascione@fmglaw.com>; Amber H. Taylor <Amber.Taylor@fmglaw.com>
Subject: RE: Hovnanian v. Costco Wholesale Corporation



Jack,



Additionally, in the form complaint, the box for punitive damages is checked, I am assuming this was in error, given
there are no allegations pled in the pleadings to support punitive damages in this alleged slip and fall case. Can you
confirm?



Best regards,




Brian W. Skalsky
Partner
Freeman Mathis & Gary, LLP
3030 Old Ranch Parkway | Suite 200 | Seal Beach, CA 90740-2713
D: 562-281-4517 | C: 949-292-6254
Brian.Skalsky@fmglaw.com | LinkedIn | Bio
www.fmglaw.com | Instagram | Twitter | Facebook




                                                                           2
                    Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 56 of 64 Page ID #:56
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 Please read this important notice and confidentiality statement




 From: Brian W. Skalsky
 Sent: Tuesday, June 28, 2022 9:28 AM
 To: js@zgslaw.com
 Cc: Alexandra B. Ascione <Alex.Ascione@fmglaw.com>; Amber H. Taylor <Amber.Taylor@fmglaw.com>
 Subject: Hovnanian v. Costco Wholesale Corporation



 Jack,



 I just left you a voicemail on this matter. Our office is coming in to represent Costco Wholesale Corporation. Give me a
 call when you have a chance today.



 Best regards,


 Brian W. Skalsky
 Partner
 Freeman Mathis & Gary, LLP
 3030 Old Ranch Parkway | Suite 200 | Seal Beach, CA 90740-2713
 D: 562-281-4517 | C: 949-292-6254
 Brian.Skalsky@fmglaw.com | LinkedIn | Bio
 www.fmglaw.com | Instagram | Twitter | Facebook




 CA | CT | FL | GA | IL | IN | KY | MA | NJ | NY | OH | PA | RI | TN | TX
 Please read this important notice and confidentiality statement




--
Arthur Khachatrian, Esq.
Zwirn, Gevorkyan & Sogoyan LLP
3504 W. Magnolia Blvd.
Burbank, CA 91505
818.928.5000 - General
818.999.0474 - Direct
818.928.2104 - Fax

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          Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 57 of 64 Page ID #:57

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          EXHIBIT “C”
 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 59 of 64 Page ID #:59



 1   BRIAN W. SKALSKY, SBN 277883
            Brian.Skalsky@fmglaw.com
 2   ALEXANDRA B. ASCIONE, SBN 316499
            Alex.Ascione@fmglaw.com
 3   FREEMAN MATHIS & GARY, LLP
     3030 Old Ranch Pkwy, Suite 200
 4   Seal Beach, CA 90740-2752
     Telephone:    562.281.4517
 5   Facsimile:    833.317.0293

 6   Attorneys for Defendant
     COSTCO WHOLESALE CORPORATION
 7

 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9          FOR THE COUNTY OF LOS ANGELES – SPRING STREET COURTHOUSE
10

11 SONIA HOVANIAN,                 )                  CASE NO.: 22STCV19471
                                   )                  Assigned to Hon. William A. Crowfoot, Dept. 27
12                                 )                  [Complaint Filed on June 14, 2022]
                       Plaintiff,  )                  Trial Date: December 12, 2023
13                                 )
           vs.                     )                  NOTICE TO ADVERSE PARTIES AND
14                                 )                  THE SUPERIOR COURT OF REMOVAL
     COSTCO WHOLESALE CORPORATION, )                  OF ACTION
15   and DOES 1 to 50,             )
                                   )
16                     Defendants. )
                                   )
17

18          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, AND TO THE
19   CLERK OF THE SUPERIOR COURT OF THE STATE OF CALIFORNIA, IN AND FOR
20   THE COUNTY OF LOS ANGELES:
21          PLEASE TAKE NOTICE that Defendant COSTCO WHOLESALE CORPORATION,
22   pursuant to 28 U.S.C. § 1441, filed a Notice of Removal of this action in the United States District
23   Court for the Central District of California, Western Division on July 22, 2022. The Superior Court
24   of the State of California, County of Los Angeles, is hereby advised that, pursuant to 28 U.S.C. §§
25   1446, the filing of the Notice of Removal in the United States District Court, together with the
26   service and filing of a copy of that Notice with this Court, effects the removal of the above-entitled
27   action, which can proceed no further in this action, unless and until such time as the action may be
28   remanded by order of the United States District Court. A copy of the Notice of Removal is attached
30                                                     1
            NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
31
 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 60 of 64 Page ID #:60



 1   to this Notice as Exhibit 1 and is served and filed herewith.

 2

 3   DATED: July 22, 2022                         FREEMAN MATHIS & GARY, LLP

 4
                                           By:
 5                                                BRIAN SKALSKY, ESQ.
                                                  ALEXANDRA ASCIONE, ESQ.
 6                                                Attorneys for Defendants,
                                                  COSTCO WHOLESALE CORPORATION
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            NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
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 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 61 of 64 Page ID #:61



 1                                               PROOF OF SERVICE

 2                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3           I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
     and not a party to the within action; my business address is 550 S. Hope St., Suite 2200, Los Angeles,
 4   California 90071.

 5           On July 22, 2022, I served the foregoing document described as

 6        NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF
                                      ACTION
 7
     on the interested parties in this action:
 8
                            PLEASE SEE ATTACHED PROOF OF SERVICE LIST
 9
10   _       BY MAIL. I caused such envelopes with postage thereon fully prepaid to be placed in the
             United States mail in the County of Los Angeles.
11
             BY PERSONAL SERVICE. I caused such envelopes to be delivered by hand to the offices
12           of the addressee.

13           BY FACSIMILE. I caused such documents to be sent to the address above via the facsimile
             number indicated.
14
             BY OVERNIGHT MAIL: By UPS, following ordinary business practices for collection
15           and processing of correspondence with said overnight mail service, the document listed
             above was placed in a sealed envelope addressed to the parties set forth on the attached
16           Service List, and delivered to an authorized courier or driver authorized by the express
             service carrier, with delivery fees fully prepaid or provided for.
17
     __      BY EMAIL I caused a copy of the document(s) to be sent by email from the email address
18           amber.taylor@fmglaw.com to the persons at the email addresses listed in the Service List. I
             did not receive within a reasonable time after the transmission any electronic message or any
19           other indication that the transmission was unsuccessful.

20   _X_     BY ELECTRONIC SERVICE I electronically served the attached documents(s) on each
             party or other person that is required to be served and accept service of documents
21           electronically pursuant to Code of Civil Procedure section 1010.6(4).

22
             Executed on July 22, 2022, at Los Angeles, California.
23
     X       (STATE) I declare under penalty of perjury under the laws of the State of California that the
24           above is true and correct.

25

26
27                                                    Amber Taylor

28

30                                                       3
             NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
31
 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 62 of 64 Page ID #:62



 1                                       SERVICE LIST

 2                                 Hovanian v. Costco, et al.
                                   Case No.: 22STCV19471
 3

 4   Jack Sogoyan, Esq.                       Attorneys for Plaintiff, Sonia Hovanian
     Arthur Khachatarian, Esq.
 5   Zwirn, Gevorkyan and Sogoyan, LLP
     3504 Magnolia Blvd.
 6   Burbank, CA 91505
     (818) 928-5000/Phone
 7   (818) 928-2404/Fax
     js@zgslaw.com
 8   ak@zgslaw.com
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          NOTICE TO ADVERSE PARTIES AND THE SUPERIOR COURT OF REMOVAL OF ACTION
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 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 63 of 64 Page ID #:63



 1                                               PROOF OF SERVICE

 2                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3           I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
     and not a party to the within action; my business address is 550 S. Hope St., Suite 2200, Los Angeles,
 4   California 90071.

 5           On July 22, 2022, I served the foregoing document described as

 6                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441

 7   on the interested parties in this action:

 8                          PLEASE SEE ATTACHED PROOF OF SERVICE LIST

 9
     _       BY MAIL. I caused such envelopes with postage thereon fully prepaid to be placed in the
10           United States mail in the County of Los Angeles.

11           BY PERSONAL SERVICE. I caused such envelopes to be delivered by hand to the offices
             of the addressee.
12
             BY FACSIMILE. I caused such documents to be sent to the address above via the facsimile
13           number indicated.

14           BY OVERNIGHT MAIL: By UPS, following ordinary business practices for collection
             and processing of correspondence with said overnight mail service, the document listed
15           above was placed in a sealed envelope addressed to the parties set forth on the attached
             Service List, and delivered to an authorized courier or driver authorized by the express
16           service carrier, with delivery fees fully prepaid or provided for.

17   __      BY EMAIL I caused a copy of the document(s) to be sent by email from the email address
             amber.taylor@fmglaw.com to the persons at the email addresses listed in the Service List. I
18           did not receive within a reasonable time after the transmission any electronic message or any
             other indication that the transmission was unsuccessful.
19
     _X_     BY ELECTRONIC SERVICE I electronically served the attached documents(s) on each
20           party or other person that is required to be served and accept service of documents
             electronically pursuant to Code of Civil Procedure section 1010.6(4).
21

22           Executed on July 22, 2022, at Los Angeles, California.

23   X       (STATE) I declare under penalty of perjury under the laws of the State of California that the
             above is true and correct.
24

25

26
                                                      Amber Taylor
27

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30                                                        5
                              NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
31
 Case 2:22-cv-05101 Document 1 Filed 07/22/22 Page 64 of 64 Page ID #:64



 1                                       SERVICE LIST

 2                                 Hovanian v. Costco, et al.
                                   Case No.: 22STCV19471
 3

 4   Jack Sogoyan, Esq.                       Attorneys for Plaintiff, Sonia Hovanian
     Arthur Khachatarian, Esq.
 5   Zwirn, Gevorkyan and Sogoyan, LLP
     3504 Magnolia Blvd.
 6   Burbank, CA 91505
     (818) 928-5000/Phone
 7   (818) 928-2404/Fax
     js@zgslaw.com
 8   ak@zgslaw.com
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                       NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441
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